IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF Mud sour | Ce we

M ichole Maas

/ _ Plaintiff, §
GC. Melee .
Jor bt Case No:.: (p24 -ev- (032 BS DEG
UV. ,
ser afr “e Hoksin G
prahorrts
Defendant.
MOTION FOR ENTRY OF DEFAULT
TC eS
Plaintiff ane Ames requests that the clerk of court enter default against defendant

Seringcele

[ousia G pursuant to Federal Rule of Civil Procedure 55(a). In support of this request plaintiff
Authur ty

relies upon the record in this case and the affidavit submitted herein.

Dated this / day of Mivetber , 2024.

OSE. “Plaintiff

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